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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                           )
                                                     )
       Plaintiff,                                    )       No. 6:19-CR-86-REW-HAI
                                                     )
 v.                                                  )
                                                     )                 ORDER
 CHANDLER BURNETTE,                                  )
                                                     )
       Defendant.                                    )
                                                     )

                                       *** *** *** ***

       After conducting Rule 11 proceedings, see DE 49 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Burnette’s guilty plea and adjudge him guilty

of Counts 1 and 3 of the Indictment (DE 1). See DE 50 (Recommendation); see also DE 46-1 (Plea

Agreement). Judge Ingram expressly informed Defendant of his right to object to the

recommendation and to secure de novo review from the undersigned. See DE 50 at 3. The

established, 3-day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)–(3) (limiting de novo review duty to “any

objection” filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).




                                                 1
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       The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

       1. The Court ADOPTS DE 50, ACCEPTS Burnette’s guilty plea, and ADJUDGES him

          guilty of Count 1 and Count 3 of the Indictment (DE 1);

       2. Further, per Judge Ingram’s unopposed recommendation and Defendant’s agreement

          (DE 46-1 ¶ 7), the Court provisionally FINDS that the property identified in the

          operative indictment (DE 1 at 3) is forfeitable and that Burnette has an interest in said

          property, and preliminarily ADJUDGES Defendant’s interest in such property

          FORFEITED. Under Criminal Rule 32.2, and absent pre-judgment objection, “the

          preliminary forfeiture order becomes final as to” Defendant at sentencing. Fed. R.

          Crim. P. 32.2(b)(4)(A). The Court will further address forfeiture at that time. See id. at

          (b)(4)(B); and

       3. The Court will issue a separate sentencing order.1

       This the 6th day of November, 2020.




1
 At the hearing, Judge Ingram remanded Burnette to custody. See DE 49. The Court, thus, sees
no need to further address detention, at this time.
                                                2
